                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF MISSOURI
                            SOUTHWESTERN DIVISION

UNITED STATES OF AMERICA,                   )
                                            )
                     Plaintiff,             )
                                            )
vs.                                         )      Case No. 15-05034-01-CR-SW-RK
                                            )
SANTIAGO SOTO-GARCIA,                       )
                                            )
                     Defendant.             )

                                           ORDER

       Pending before the Court is Defendant's Motion to Dismiss the Superseding Indictment
(doc. 90). Defendant alleges a violation of Defendant’s Sixth Amendment right to Due Process.
       On June 21, 2016, United States Magistrate Judge David P. Rush conducted an evidentiary
hearing on the motion. On August 24, 2016, Judge Rush issued his Report and Recommendation
(doc. 110). Objections were due by September 12, 2016. No objections have been filed.
       Upon careful and independent review of the pending motion, as well as the applicable law,
this Court hereby adopts and incorporates as its own Opinion and Order the Report and
Recommendation of United States Magistrate Judge David P. Rush.
       Accordingly, it is hereby ORDERED that Defendant's Motion to Dismiss the Superseding
Indictment (doc. 90) is OVERRULED and DENIED.
       SO ORDERED.
                                                   s/ Roseann A. Ketchmark
                                                   ROSEANN A. KETCHMARK, JUDGE
                                                   UNITED STATES DISTRICT COURT

DATED: September 30, 2016




      Case 3:15-cr-05034-MDH          Document 120       Filed 09/30/16     Page 1 of 1
